                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE

 UNITED STATES OF AMERICA

            v.                                    No. 2:24-mj-00187-KFW

 ANDRE HILL



             AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

      I, David Fife, being duly sworn, depose and state as follows:

                   INTRODUCTION AND AGENT BACKGROUND

      1.     I make this affidavit in support of a criminal complaint charging Andre

Hill with violations of Title 18, United States Code Section 1344, bank fraud.

      2.     I am a Special Agent (SA) with Homeland Security Investigations (HSI)

and have been since August 2009. I am currently assigned to HSI’s Portland, Maine

office. I have participated in numerous criminal investigations, to include those

involving financial fraud, wire fraud, money laundering, and computer fraud/intrusions.

In my career, I have used various investigative tools and techniques, including the use of

search warrants.

      3.     This affidavit is intended to show that there is probable cause for the

requested complaint. The facts set forth in this affidavit are based upon my personal

knowledge, information obtained during my participation in this investigation,

including information provided by other investigators, my review of documents and

computer records related to this investigation, and information gained through my

training and experience. Based on my training and experience and the facts as set forth

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in this affidavit, I submit that probable cause exists to believe that Andre Hill committed

bank fraud, in violation of 18 U.S.C 1344, as alleged in the criminal complaint.

                                   PROBABLE CAUSE

                  Initial Information from Bangor Savings Bank

       4.     On about January 10, 2023, I received information from a fraud analyst at

Bangor Savings Bank (BSB), a financial institution whose deposits are insured by the

Federal Deposit Insurance Corporation (FDIC), in Bangor, Maine. BSB reported an

emerging fraud trend they had observed since approximately April of 2022, which

appeared to be linked to a coherent criminal organization (the “ORGANIZATION”)

likely operating out of south Florida. This trend, internally labelled as “digital wallet

fraud,” had so far impacted at least 145 BSB customers. According to BSB, the

ORGANIZATION appeared to have acquired a large amount of BSB customer contact

data as well as some portion of the debit card account numbers, 1 which enabled them to

begin sending large volumes of fraudulent (spoof) BSB text messages to customers

mimicking a fraudulent account charge auto-text alert notification. If a customer

responded to the spoofed message that they had not in fact authorized the non-existent

charge in question (via a “YES/NO” text response), the ORGANIZATION would

immediately contact the customer from a spoofed version of the legitimate BSB call

center number (1-877-226-4617) to “walk them through” the fraud reporting process, as



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1
 I know based upon my training and experience that this type of data can commonly be purchased
on darknet marketplaces in bulk, sometimes broken up and categorized by the targeted bank or by
a specific intrusion/breach event (TJ Maxx, Target, etc.).


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the positive response had signaled to the ORGANIZATION that this was in fact a valid

customer account. At this point, the ORGANIZATION would collect all relevant account

data (PINs, etc.) from the customer, and appeared to be simultaneously loading the

customer’s newly compromised debit cards into mobile digital wallet platforms such as

Apple Pay/Samsung Pay so that the cards could be used at any store that accepted

digital wallet transactions.2

       5.     Because the loading of a debit card into a digital wallet would trigger a text

message verification code to the true account holder’s registered number, the

ORGANIZATION would explain to the customer that the code they were about to

receive was from BSB, and that they would need to provide it for verification. Once this

had occurred, the compromised card would be fully digitized and under the control of

the ORGANIZATION. In most cases, the ORGANIZATION would visit stores that

allowed large cash-back transactions with any purchase, and would purchase a small

item (food, greeting cards, etc.) and then request the maximum amount of cash back

(often between $200-$400 per transaction).

       6.     BSB further reported that the vast majority of the customers affected were

located throughout Maine, though the bank did receive some reports of fraud from BSB

account holders located outside the state. However, the approximately 145 known

impacted customers only included the customers who had reported the activity to BSB

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  A digital wallet is a financial transaction application that runs on any connected device. It
securely stores payment information and passwords in the cloud. Digital wallets may be accessible
from mobile devices, such as cell phones. Users enter and store credit card, debit card, or bank
account information and can then use their device to pay for purchases rather than relying on a
card or check.


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and/or were detected by the bank; due to the nature of the fraud, the charges themselves

could not be easily detected by BSB’s internal controls because the compromised debit

cards were being loaded into trusted and verified third-party digital wallet platforms

such as Apple Pay/Samsung Pay. Several days after initial notification, BSB provided me

with a spreadsheet detailing approximately 533 successful fraudulent transactions they

had tied to the ORGANIZATION from April 2022 through early January 2023. These

were based mostly on disputed transactions reported to BSB by account holders. I

reviewed the spreadsheet and noted that the majority of the transactions had occurred

in south Florida, notably in the Miami/Fort Lauderdale region, though a number also

occurred in the New York City and Washington, DC metropolitan areas, among other

outlier locations.

            BSB Digital Wallet Fraud in Maine on January 9-10, 2023

       7.     In their initial reporting to me on January 10, 2023, BSB also indicated

that they believed the ORGANIZATION was physically operating in the state of Maine at

that moment and had conducted very recent digital wallet transactions using

compromised accounts at a variety of businesses in the Portland, ME region. More

specifically, BSB reported that on January 9 and 10, 2023, they detected thousands of

dollars of fraudulent transactions involving numerous customers that had occurred at

several Walgreens stores, Hannaford grocery stores, 7-Eleven gas stations, and U.S. Post

Offices in the area. In these instances, BSB reported that the compromised customers

had received spoof texts beforehand followed by phone calls from individuals

pretending to be BSB customer service representatives.


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        8.      Following receipt of this information, on January 10, 2023, I visited

several of the locations in the Portland area that had been targeted by the

ORGANIZATION in order to collect surveillance footage of the individual(s) involved. In

each instance (Hannaford, Walgreens, U.S. Postal facilities, etc.), surveillance footage

revealed the same individual: a black male with dreadlocks, likely in his early 20s and

between 5’9” and 6’ tall, wearing a surgical mask that obscured his face from the bottom

of the nose to the chin. In several instances, particularly those involving self-check-out

kiosks at Hannaford grocery stores with a top-down camera, the man could be seen

manipulating his phone to a digital wallet app, which then displayed what appeared to

be a BSB bank card on the screen.3 Below is a still image of the individual entering a

Hannaford grocery store in South Portland, ME on January 9, 2023:




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  I know that Bangor Savings Bank debit cards are (or were at the time of these transactions) white with a
blueish pattern running across the middle of the card. This blue strip on a white background card was clearly
visible on the subject’s phone screen during these transactions.


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        10.   The individual made the following transactions, among others, on January

9, 2023, using BSB debit card numbers without the account holders’ knowledge or

consent:

 Card Ending           Location                 Description           Approximate
                                                                      Amount
 1443                  South Portland           Point of Sale Debit   $201.15
                       Hannaford
 1443                  South Portland           Point of Sale Debit   $204
                       Hannaford
 7888                  Westbrook                Point of Sale Debit   $186.26
                       Hannaford
 7888                  Westbrook                Point of Sale Debit   $181.34
                       Hannaford
 7888                  Westbrook                Point of Sale Debit   $197.54
                       Hannaford
 7888                  Westbrook                Point of Sale Debit   $501
                       Hannaford
 8488                  Scarborough              Point of Sale Debit   $552
                       Hannaford
 8488                  Scarborough              Point of Sale Debit   $501
                       Hannaford
 8488                  Scarborough              Point of Sale Debit   $207.69
                       Hannaford
 1761                  Portland                 Point of Sale Debit   $191.26
                       Hannaford
 1761                  Portland                 Point of Sale Debit   $203.89
                       Hannaford


        11.   On January 10, 2023, while the individual was still in Maine, additional

transactions involving compromised BSB accounts were made at U.S. Post Offices on

Forest Avenue and Congress Street in Portland, ME. Because they occurred at post

offices, I contacted U.S. Postal Inspector Bryan Wilmot to request any video footage and

information about what the individual had purchased in each instance. Inspector

Wilmot reported that the individual had purchased (or attempted to purchase in some


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instances) postal money orders, and that video footage of him existed at the Forest

Avenue location but not Congress Street. I reviewed the footage and noted that it

appeared to be the same individual who had been at the Hannaford stores (among other

locations) the previous day. Below is a still image of the individual at the U.S. Post Office

in Portland on January 10, 2023:




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        12.   Inspector Wilmot subsequently reported to me that postal records

reflected that some of the money orders purchased by the individual were later

negotiated in South Florida. For instance, one money order for $600 that had been

purchased at the Forest Avenue post office on January 10, 2023 was made payable to an

“Andre Hill” and cashed at a convenience store in Lauderdale Lakes, Florida on January

20, 2023; another for $400 that had been purchased at the Congress Street location on

January 10, 2023 was also made payable to an “Andre Hill” but deposited into an

account at TD Bank.

        13.   The suspect made the following transactions, among others, on January

10, 2023, using a BSB debit card number without the account holder’s knowledge or

consent:

 Card Ending           Location                Description         Approximate
                                                                   Amount
 8693                  Portland Post           Money Order         $602.23
                       Office
                       (Forest Ave.)
 8693                  Portland Post           Money Order         $552.96
                       Office
                       (Forest Ave.)
 8693                  Portland Post           Money Order         $501.65
                       Office
                       (Forest Ave.)

        BSB Digital Wallet Fraud in New Hampshire on January 11, 2023

        14.   On January 11, 2023, BSB again notified me that compromised customer

accounts were again being used on that very day, but this time at Hannaford stores, U.S.

post offices, and other locations in New Hampshire (mostly in the Manchester region). I

contacted the Hannaford security manager who had assisted with obtaining footage


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from the Maine locations, and I received some of the footage from the affected

Hannaford stores in the Manchester region. I again observed the same individual

making purchases, though in several instances he seemed to be using digital bank cards

with images that did not appear to match the blue and white BSB cards described above.

Below is a still image of the suspect at a Hannaford store in New Hampshire on January

11, 2023:




       15.    On the same date, I contacted Inspector Wilmot regarding the postal

facilities visited by the individual, which were identified as the two Manchester post

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offices (Manchester Main and Manchester Downtown) and a post office in Bedford, NH.

In footage provided for the Manchester Main location, I again observed the same man.

Below is a still image of the individual from surveillance footage at a Manchester post

office:




          16.   According to Inspector Wilmot, the suspect made two visits to the

Manchester Main post office; in the first visit, the compromised BSB cards he used were

all declined, but in the second visit later in the day, he was successful in purchasing

money orders with compromised BSB digital wallet accounts. However, video footage at

the Manchester Main location was only available for the earlier, unsuccessful attempts.

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At the Manchester Downtown location, Inspector Wilmot reported that the same

individual, captured by surveillance footage, made additional successful money order

purchases. As with several of the money orders purchased at the Portland locations,

several of the money orders purchased by the same individual at the Manchester

locations were cashed at the same convenience store in Lauderdale Lakes, Florida, and

made payable to an “Andre Hill,” for a total of $1,500.

Additional Activity in Massachusetts, NH, and Maine; Jan. 29 - Feb. 1, 2023

       17.    On about January 31, 2023, I again received information from BSB

concerning new fraudulent transactions reported by customers with compromised

accounts that appeared to match the pattern of those earlier in the month. BSB reported

10 transactions in Nashua, NH on the evening of January 29, 2023, that appeared to be

mostly cash withdrawal purchases made at Walgreens, Rite Aid, Dollar General, and

other locations in a roughly 2.5 hour period. Many of these transactions, however, were

declined, and I was unable to obtain video footage from the affected stores. BSB then

reported additional activity with compromised digital wallet accounts on January 30,

2023, this time at post offices in Methuen and Lawerence, MA, and retail stores and gas

stations in Salem, NH. Again, many of these transactions, including those at the post

offices, were declined. However, I again contacted Inspector Wilmot regarding the

postal facilities, and upon review of the surveillance footage at both locations, Inspector

Wilmot and I again observed the same individual. Below is a still image of the individual

from surveillance video at the Lawrence post office on January 30, 2023.




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       18.    On February 9, 2023, BSB reported additional activity that had actually

occurred in Portland, ME on February 1, 2023, but that had not been detected by the

customers until approximately one week later. According to BSB, numerous

transactions were attempted and/or completed using compromised digital wallet

accounts at a Hannaford on Riverside Drive in Portland; the Westbrook, ME post office;

and several gas stations near both of these locations between 3:59 PM and 4:43 PM on

that day. Once again, several were declined, including those at the post office, but

several made at the Hannaford were successful, as were most of the gas station

purchases. As I had done with the earlier Hannaford purchases, I contacted the


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company’s security department, and obtained the footage for the affected Hannaford

store. In this footage, I again observed the same individual, wearing the same black coat

he had worn during earlier Hannaford purchases, and I could also again observe the

man manipulate his smartphone at the payment kiosk to bring up what appeared to

digital wallet apps containing cards that appeared to bear the BSB debit card

markings/colors.

        19.   The suspect made the following transaction, among others, on February 1,

2023, using a BSB debit card number without the account holder’s knowledge or

consent:

 Card Ending           Location               Description            Approximate
                                                                     Amount
 7731                  Portland               Point of Sale Debit    $201.57
                       Hannaford

                             Identification of Andre Hill

        20.   Based upon the information that BSB had provided regarding the full

scope of fraudulent digital wallet transactions that had occurred during the time period

referenced above, as well as additional information from BSB concerning simultaneous

online intrusions from south Florida IP addresses into the same customer accounts

being used by the individual in Maine, New Hampshire, and Massachusetts, Inspector

Wilmot and I suspected that the overall ORGANIZATION had a strong connection to

the metropolitan Miami area. Additionally, based on the fact that BSB reported a

sizeable number of other fraudulent digital wallet transactions at restaurants, stores,

and gas stations in the Boston metro area, we suspected that the specific individual from

the surveillance footage we had obtained either lived in the Boston area or had close

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associates there that he visited often. With this information, and the fact that many of

the money orders purchased by the individual were consistently endorsed by an “Andre

Hill,” I conducted a consumer database search for people named “Andre Hill” with a

connection to both Massachusetts and Florida. From this search, I found a single Andre

Hill (hereinafter “Hill”), born in July of 1999, with recent addresses in each state and an

age that appeared to match the age of the man in the surveillance video. Hill’s records in

these databases reflected a current address in Norfolk, Massachusetts, with previous

addresses in Sunrise, FL.

       21.    In April 2023, Inspector Wilmot contacted TD Bank, which had been the

institution into which at least one of the “Andre Hill” postal money orders had been

deposited, to provide them with a subpoena for all account records associated with Hill.

TD Bank indeed found an account belonging to Hill and provided the relevant account

records. In reviewing these records, Inspector Wilmot and I discovered the deposit

referenced in Paragraph 12 above, as well as a number of transactions Hill had made at

gas stations and other locations in Maine, New Hampshire, and Massachusetts

contemporaneous with the fraudulent BSB digital wallet transactions occurring at stores

and post offices in those states. More specifically, I noted that on January 9, 2023, Hill

made two cash deposits into the account of $360 and $420 at a TD Bank ATM near the

Maine Mall in South Portland, ME. These deposits occurred on the same date as the

digital wallet fraud activity that had occurred at the Hannaford grocery store at the

Maine Mall, which was located less than half a mile down the street from the TD Bank.




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       22.    Based upon the results of the consumer database search and the TD Bank

information, I conducted a driver’s license search of Hill in the Florida and

Massachusetts databases. I discovered that Hill had a valid driver’s license in Florida,

issued in August of 2022, and I viewed the photograph taken at issuance. I found that

Hill’s driver’s license photo appeared to be a match to the man from the surveillance

footage, who, though wearing a face mask in each instance, possessed the same distinct

dreadlocks and very similar visible facial features to Hill. Below is Andre Hill’s Florida

driver’s license photo.




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       23.    Within the consumer records databases, I also noted that Hill had a 2003

BMW 540i sedan registered to him, bearing an active Massachusetts registration of

3PKM68. In early August 2023, Inspector Wilmot served a subpoena to the Maine

Turnpike Authority for records of toll crossings involving this vehicle in January and

February 2023 at any of the turnpike plazas along Interstate 95 in Maine. In early

October 2023, the Maine Turnpike Authority responded, and stated that Hill’s vehicle

had an EZ pass transponder but that it did not have any money loaded on it when he

used it in the state. As a result, Hill’s vehicle was issued a violation each time it passed

through the various toll plazas in Maine, and his license plate and images of his vehicle

were captured and retained during these incidents. This series of violations showed that

the vehicle had made the following crossings into, within, and out of Maine on I-95:

       -January 9, 2023, 12:14 PM – York Plaza
       -January 9, 2023, 12:52 PM – Jetport, Portland
       -January 9, 2023, 4:33 PM – Rand Road, Portland
       -January 9, 2023, 7:14 PM – Saco
       -January 9, 2023, 7:35 PM – York Plaza
       -January 10, 2023, 11:20 AM – York Plaza
       -January 10, 2023, 11:44 AM – Scarborough I-295
       -January 10, 2023, 6:57 PM – Saco
       -January 10, 2023, 7:17 PM – York Plaza
       -February 1, 2023, 12:15 PM – York Plaza
       -February 1, 2023, 12:49 PM – Wells
       -February 1, 2023, 8:15 PM – Maine Mall/Payne Road
       -February 1, 2023, 8:40 PM – York Plaza

As evidenced by Hill’s toll activity, the vehicle was not only in the state of Maine on the

days and time frames that the fraudulent BSB charges were made at stores and post

offices in the Portland region, but in some cases the activity occurred in close proximity

and time to his vehicle’s infraction at a nearby toll plaza. For example, on January 9,


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